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                                         December 20, 2021


Via ECF Only

The Honorable Paul W. Grimm
United States District Court for the District of Maryland
6500 Cherrywood Lane, Suite 465A
Greenbelt, MD 20770

       RE:     Trustees of the Bakery and Confectionery Union and Industry International
               Pension Fund v. Brown’s Bun Baking Company, et al., Civil Case No. PWG-20-
               2619

Dear Judge Grimm:

         I write on behalf of counsel for all parties in this case, and in accordance with the Court’s
order of September 24, 2021, submit this joint status report respecting the above-captioned
litigation. In that Order the Court administratively closed the case, subject to it being reopened
on the request of counsel for either party. See Paperless Order entered September 24, 2021 [Dkt.
No. 39]. Since the parties submitted, on September 23, a joint letter informing the Court of a
settlement in principle, they have been working diligently to finalize open issues and resolve
contingencies associated with the terms of the settlements. The parties had believed the
outstanding issues could be resolved before now; unfortunately, the due diligence process
regarding certain outstanding issues has taken longer than anticipated. The parties continue to
work to resolve all outstanding items, and hope to finalize and execute the settlement agreements
within 60 days, at which time they would jointly move the Court for entry of a final judgment.
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Hon. Paul W. Grimm
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          Counsel for Defendants has authorized me to represent that Defendants concur in this
letter.

          Thank you for your consideration in this matter.


                                                             Respectfully submitted,

                                                             /s/ Robert Alexander
                                                             Robert Alexander
                                                             Counsel for Plaintiff

Cc: Counsel of Record (via ECF only)
